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                            No. 23-15234
__________________________________________________________________

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT


                     PAUL A. ISAACSON, M.D., ET AL.,
                           Plaintiffs-Appellants,
                                       v.

   KRISTIN K. MAYES, ATTORNEY GENERAL OF ARIZONA, IN HER
                  OFFICIAL CAPACITY, ET AL.,
                      Defendants-Appellees.

   On Appeal from the United States District Court for the District of Arizona
                          No. 2:21-cv-01417-DLR


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     Case: 23-15234, 04/20/2023, ID: 12699706, DktEntry: 25, Page 2 of 95




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                        DISCLOSURE STATEMENT

      Plaintiffs-Appellants Paul A. Isaacson, M.D., National Council of Jewish

Women (Arizona Section), Inc., Arizona National Organization for Women, Eric M.

Reuss, M.D., M.P.H., and Arizona Medical Association do not have parent

corporations. No publicly held corporation owns ten percent or more of Plaintiffs-

Appellants’ stock.




      Date: April 20, 2023


                                                  /s/ Jessica Sklarsky
                                                  Jessica Sklarsky




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                                INTRODUCTION1

      After being enjoined for nearly a year, Arizona’s Reason Scheme (“Reason

Scheme” or “Scheme,” A.R.S. §§ 13-3603.02(A)(2), (B)(2), (D), (E), 36-

2157(A)(1), 36-2158(A)(2)(d), 36-2161(A)(25)) became enforceable on June 30,

2022. Shortly thereafter, plaintiffs, who are individual physicians and the largest

physicians’ association in Arizona (“Plaintiff-Physicians”), and two organizations

that educate Arizonans about their constitutional rights (together, “Plaintiffs”) once

again sought to preliminarily enjoin the Scheme due to its unconstitutional

vagueness. The Scheme criminalizes the provision of abortion if the provider has

some uncertain level of knowledge that a patient’s decision is to some uncertain

degree motivated by an unclearly defined set of “genetic abnormalities.”2

      On January 19, 2023, the district court denied Plaintiffs’ Renewed Motion for

Preliminary Injunction, erroneously concluding that Plaintiffs could no longer

demonstrate “a sufficiently concrete and imminent injury” to support federal

jurisdiction under Article III after the loss of the substantive due process right to

abortion in Dobbs v. Jackson Women’s Health Organization, 142 S. Ct. 2228 (2022).



1
  Unless otherwise indicated, for all citations herein: all emphases are added, all
internal citations and quotations omitted.
2
  Where not directly quoting the language of the Scheme, Plaintiffs herein refer to
the term “genetic abnormalities” as “fetal conditions” or “fetal diagnoses.”
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1-ER-7, 10. Given the undisputed facts of this case, the district court’s conclusion is

legally flawed for at least two reasons. First, given the Scheme’s vague, inconsistent,

and imprecise terms, Plaintiff-Physicians cannot determine what care the Scheme

prohibits and fear arbitrary prosecution with severe criminal, civil, and licensure

penalties under countless scenarios. As a result, since the Scheme became

enforceable, Plaintiff-Physicians have been forced to over-comply with the law—

severely curtailing the care they previously offered to patients with suspected or

known fetal conditions (including care that may still be legal under the Reason

Scheme)—to avoid as best they can the threat of prosecution. The district court’s

analysis disregards the costs and harms associated with Plaintiff-Physicians’ coerced

over-compliance with the now-enforceable Scheme, which constitute quintessential

“actual” and ongoing Article III injuries. Lujan v. Defs. of Wildlife, 504 U.S. 555,

560 (1992); Lake Carriers’ Ass’n v. MacMullan, 406 U.S. 498, 508 (1972).

      Second, if Plaintiff-Physicians were to cease over-compliance and attempt to

decipher the Scheme and offer as much care as is legally permissible under it, which

would be their preference, the threat of prosecution would be severe. The district

court cast aside these “imminent” future injuries Plaintiff-Physicians suffer due to

the threat of prosecution, based on a clear misreading of the Supreme Court’s

“general standard” for pre-enforcement challenges set out in Susan B. Anthony List

v. Driehaus, 573 U.S. 149, 159 (2014). Tingley v. Ferguson, 47 F.4th 1055, 1067


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(9th Cir. 2022), petition for cert. filed, Mar. 27, 2023 (No. 22-942) (raising unrelated

questions of law). According to the district court, the Driehaus standard—which

requires the challenger to demonstrate an “intention to engage in a course of conduct

arguably affected with a constitutional interest,” 573 U.S. at 159—is only met in

pre-enforcement vagueness challenges when the law’s vagueness chills the exercise

of a separate constitutional right. 1-ER-7–13. Such a rule has no grounding in the

Article III injury requirement, which merely seeks to “ensure that the plaintiff has a

‘personal stake in the outcome of the controversy.’” Driehaus, 573 U.S. at 158

(quoting Warth v. Seldin, 422 U.S. 490, 498 (1975)). This rule also ignores the due

process violations produced by vague laws that—like the Reason Scheme—threaten

life, liberty, or property interests, regardless of whether an enforcement action has

been initiated or the regulated conduct is constitutionally protected.

      Plaintiff-Physicians unquestionably possess the requisite “personal stake” in

the outcome of this case to satisfy Article III. Warth, 422 U.S. at 498. The district

court incorrectly held the opposite, causing it to abandon its “duty . . . to decide” a

“federal constitutional question” within its jurisdiction. Baggett v. Bullitt, 377 U.S.

360, 375 n.11 (1964); see also Driehaus, 573 U.S. at 167. Plaintiffs ask this Court

to vacate the district court’s Order and remand to the district court for consideration

on the merits of Plaintiffs’ Renewed Motion for Preliminary Injunction.




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                         JURISDICTIONAL STATEMENT

       The district court had jurisdiction under 28 U.S.C. §§ 1331 and 1343(a)(3).

Pursuant to 28 U.S.C. § 1292(a)(1), this Court has jurisdiction over the appeal of a

preliminary injunction. The district court denied preliminary injunctive relief on

January 19, 2023. 1-ER-3–14. Plaintiffs timely appealed on February 21, 2023. 3-

ER-304. See Fed. R. App. P. 4(a)(1)(A).

                               ISSUES PRESENTED

       I.    Did the district court legally err by failing to find an “actual” Article III

             injury-in-fact given Plaintiff-Physicians’ ongoing coerced over-

             compliance with the Reason Scheme?

       II.   Did the district court legally err by failing to find that the threat of

             prosecution to Plaintiff-Physicians under the Reason Scheme is an

             “imminent” future Article III injury-in-fact under the Driehaus

             standard?

                           STATUTORY AUTHORITY

       Pursuant to 9th Cir. R. 28-2.7, the final version of Senate Bill 1457, 55th Leg.,

1st Reg. Sess. (Ariz. 2021) appears in the Addendum to this brief. See infra page

A-1.




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                          STATEMENT OF THE CASE

 I.   FACTUAL BACKGROUND

          A. Plaintiff-Physicians

      Plaintiff Dr. Paul A. Isaacson, M.D., is a licensed, board-certified obstetrician-

gynecologist. 2-ER-250. Dr. Isaacson has been providing abortion care in Arizona

for more than 20 years. Id. He is the co-owner of and one of two physicians at Family

Planning Associates Medical Group, an independent abortion clinic located in

Phoenix. 2-ER-250–51.

      Plaintiff Dr. Eric M. Reuss, M.D., M.P.H., is a licensed, board-certified

obstetrician-gynecologist. 2-ER-220. Since 2001, he has operated a private, solo

obstetrics and gynecology (“OB/GYN”) practice, Scottsdale Obstetrics &

Gynecology, P.C., where he provides his patients with the full range of general

OB/GYN care, including well-woman care; prenatal care; labor and delivery care;

and abortion care. 2-ER-220, 222. He cares for hundreds of prenatal patients each

year, and offers genetic testing and non-directive counseling to those patients, often

in consultation with other medical specialists. 2-ER-222. He provides medication

and procedural abortions to his patients. Id.

      Plaintiff Arizona Medical Association (“ArMA”) is a professional

membership organization with nearly 4,000 physician members, including at least

75 members who are obstetrician-gynecologists. 2-ER-295, 297. Among ArMA’s

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membership are physicians who care for pregnant patients in myriad ways, including

by providing fetal genetic testing and counseling for pregnant patients. 2-ER-297–

98. One such member is Dr. Katherine B. Glaser, M.D., M.P.H., a board-certified

obstetrician-gynecologist licensed to practice in Arizona. 2-ER-242. Dr. Glaser

provides a wide range of OB/GYN care to patients in Arizona, including pregnant

patients. 2-ER-242–43. Dr. Glaser’s services include pregnancy care up to and

including delivery, and she offers and counsels her pregnant patients about genetic

and other routine testing, such as ultrasound results, provides them with non-

directive information about options for their pregnancy and other care, and discusses

any concerns or questions they may have during the pregnancy. 2-ER-243. In

addition to providing ongoing prenatal care for her patients, she has performed about

one or two procedural abortions per year and has provided medication abortion care.

2-ER-244.

         B. Fetal Screening and Diagnosis in Arizona Before the Reason
            Scheme

             1. Fetal Screening and Diagnosis Standards

      The American College of Obstetricians and Gynecologists (“ACOG”) and the

Society for Maternal-Fetal Medicine (“SMFM”) jointly recommend all prenatal

patients routinely be offered fetal genetic testing options. 2-ER-224–25. This

provides patients with additional information for possible prenatal treatment, for

optimal delivery staff and location, and to inform consideration of abortion, if that

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is an option the patient is considering. 2-ER-227–28. For patients with positive

indications of a fetal diagnosis, it also helps with preparation for care after birth, if

they decide to continue the pregnancy. 2-ER-227. As the ACOG and SMFM

guidelines emphasize, testing should occur with complete, non-directive counseling

both pre- and post-test. Id. Such counseling provides the patient with detailed facts

about the test(s), fetal condition(s) at issue, range of possible outcomes, and

community resources, among other topics, while answering questions to facilitate

the patient’s own decision-making. 2-ER-224; 2-ER-227–31.

      There are a variety of tests and exams during pregnancy that screen for or may

diagnose a fetal genetic condition. See 2-ER-167; 2-ER-224–26, 228–30; 2-ER-243–

44. Those tests include ultrasounds, which are a routine part of prenatal care, as well

as genetic testing options that examine fetal cells in maternal blood or the DNA of

fetal cells sampled through chorionic villus sampling or amniocentesis. 2-ER-224–

26, 228–29, 243. Many of these screening and diagnostic tests occur between 10-13

weeks of pregnancy. 2-ER-224, 228–29.

      There are inherent uncertainties in fetal testing and diagnosis. 2-ER-225–26,

229; 2-ER-167. Fetal screening tests provide information about the likelihood or risk

that a fetal condition may be present. 2-ER-225. While some fetal screening tests are

quite sensitive and specific, they can produce false-positives, false-negatives, and

uninterpretable results. 2-ER-229. Diagnostic tests—if available and pursued—aim


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to determine whether a specific genetic condition is present in the fetus. 2-ER-225.

However, diagnostic testing—like fetal screening—has limits and uncertainties. Id.

Even when a diagnosis is made in utero, that cannot tell the patient and their

physicians specifically how a condition will manifest over a child’s lifetime or

exactly how long a particular child might live. See 2-ER-167–68; 2-ER-228; 2-ER-

259–60. The prognosis for fetal conditions that are or may be present is extremely

varied, both among different conditions and, in almost all instances, within any one

diagnosis. 2-ER-228; 2-ER-259.

       The possible or diagnosed presence of a fetal condition adds another complex

layer to decision-making related to pregnancy. 2-ER-224. Pregnant patients face a

wide range of complex personal considerations—including, e.g., their own health

problems, worries about family stability, economic concerns, and existing care-

giving responsibilities—in deciding whether to continue a pregnancy. 2-ER-231–33;

2-ER-252–53, 263; see also 2-ER-246. Physicians, genetic counselors, and/or other

health care professionals offer confidential, non-directive counseling, answer

questions, and provide facts, and patients may consult other trusted advisors, 2-ER-

227–31; 2-ER-243–46, but it is the patient that must evaluate their situation and

make the decision. 2-ER-232–33; 2-ER-252–53, 263; see also 2-ER-233–34; 2-ER-

266.




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             2. Plaintiff-Physicians’ Practices Before the Reason Scheme

      Prior to the Reason Scheme, in accordance with ACOG and SMFM

guidelines, Plaintiff-Physicians routinely provided patients with full-spectrum and

non-directive counseling related to fetal testing, diagnosis, and care options. 2-ER-

224, 227–31; 2-ER-243, 245–46; see also 2-ER-167.

      For example, Dr. Reuss offered fetal screening and testing options for all his

prenatal patients, as did Dr. Glaser. Id. And, Plaintiff ArMA’s members, including

obstetricians and gynecologists, maternal-fetal medicine specialists (“MFMs”),

perinatologists, reproductive endocrinologists, and others who care for pregnant

patients, regularly provided information and counseling about genetic testing and

fetal conditions to their patients as part of their practices. 2-ER-297. Through this

pre-test counseling, Plaintiff-Physicians provided patients with information about

the limits and uncertainties of fetal screening and diagnostic testing. 2-ER-224, 227–

31; 2-ER-243, 246.

      In addition, Plaintiff-Physicians provided post-test counseling, during which

they discussed and counseled patients on all available care options, including

abortion care, if their results revealed a likelihood or confirmed diagnosis of a fetal

condition. 2-ER-227–31; 2-ER-243–44. Plaintiff-Physicians answered patient

questions, provided facts, and ensured that “patients realize there is a broad range of

clinical presentations, or phenotypes, for many genetic disorders and that the results



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of genetic testing cannot predict all outcomes.” 2-ER-227–28 (quoting ACOG &

SMFM, Diagnostic Bulletin). These processes were intended to prevent patients

from exaggerating the significance or likely consequences of a given condition or

confusing it with other genetic and/or structural manifestations. Id.

      Plaintiff-Physicians also worked with medical professionals throughout

Arizona to provide their patients with comprehensive and compassionate medical

care, and balanced information about their pregnancy options. 2-ER-261. For

example, when a patient required more specialized testing, diagnosis, counseling, or

treatment, Drs. Reuss and Glaser regularly referred patients to, e.g., perinatologists,

MFMs, genetic counselors, and reproductive endocrinologists. 2-ER-222, 229–30;

2-ER-243–44. When Dr. Reuss’ patients experienced both a high-risk pregnancy and

a fetal diagnosis or potential fetal condition, 2-ER-233, he referred those patients to

an MFM for care, while continuing to provide prenatal care and ongoing

consultation for the patients as their primary obstetrician-gynecologist, 2-ER-229–

30. Further, when patients who had received a positive screening and/or diagnostic

test results for a fetal condition decided to seek abortion care for any reason, Dr.

Glaser provided them with information about and referrals to abortion providers. 2-

ER-244. Dr. Isaacson was often on the receiving end of such referrals from numerous

providers. 2-ER-251–52. For these patients, the referring physician typically

contacted Dr. Isaacson’s clinic directly to speak with Dr. Isaacson or another clinic


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physician about the patient, and usually forwarded the patient’s medical records. 2-

ER-253–54.

      Additionally, Plaintiffs Drs. Reuss and Isaacson provided abortion care for

patients with likely or confirmed fetal conditions. When a patient of Dr. Reuss’

ultimately decided upon abortion after receiving positive fetal screening and/or

diagnostic test results, he provided that care. 2-ER-231. And Dr. Isaacson’s clinic

was the foremost medical practice in Arizona providing abortion care to patients

referred by MFMs and genetic counselors, including following fetal screening that

revealed the likelihood of, or testing that led to a diagnosis of, a fetal condition. 2-

ER-251. And, indeed, like virtually all physicians in private practice, Drs. Reuss and

Isaacson accepted money for providing abortion services. 2-ER-251; 2-ER-223.

          C. The Reason Scheme

      The Reason Scheme was enacted on April 27, 2021, as part of Senate Bill

1457, 55th Leg., 1st Reg. Sess. (Ariz. 2021) (“S.B. 1457”). The Scheme consists of

several interdependent and internally inconsistent provisions that collectively

prohibit the provision of abortion if a provider has some uncertain level of

knowledge that the patient is to some uncertain degree motivated by an unclearly

defined set of “genetic abnormalities” in the fetus or embryo.

      The Scheme creates a class 3 felony punishable by two to 8.75 years’

imprisonment for any person who “knowingly . . . [s]olicits or accepts monies to


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finance . . . an abortion because of a genetic abnormality” of the fetus or embryo.

A.R.S. § 13-3603.02(B)(2) (the “Solicitation Provision”); A.R.S. § 13-702(D). The

Scheme also creates a class 6 felony punishable by four months’ to two years’

imprisonment for any person who “[p]erforms an abortion knowing that the abortion

is sought solely because of a genetic abnormality” of the fetus or embryo. A.R.S.

§ 13-3603.02(A)(2) (the “Performance Provision”); A.R.S. § 13-702(D).

      The Scheme also prohibits abortion care unless the provider first executes an

affidavit swearing “no knowledge that the” pregnancy is being terminated “because

of . . . a genetic abnormality” of the fetus or embryo. A.R.S. § 36-2157 (the

“Affidavit Requirement”). It further prohibits abortion care unless the provider first

tells any patient “diagnosed with a nonlethal fetal condition” that Arizona law

“prohibits abortion . . . because of a genetic abnormality.” A.R.S. § 36-

2158(A)(2)(d) (the “Notification Requirement”). Finally, the Scheme requires

providers to report to the Arizona Department of Health Services “[w]hether any

genetic abnormality . . . was detected at or before the time of the abortion by genetic

testing, such as maternal serum tests, or by ultrasound, such as nuchal translucency

screening, or by other forms of testing.” A.R.S. § 36-2161(A)(25). This is in addition

to the pre-existing requirement that providers ask every patient’s “reason for the

abortion,” including whether the “abortion is due to fetal health considerations,” and

report any such reason provided. Id. § 36-2161(A)(12) (collectively, with A.R.S.


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§ 36-2161(A)(25), the “Reporting Requirements”). Those who violate these or any

other provision of the Reason Scheme risk suspension or revocation of a medical

license, public censure, and civil penalties of at least $1,000 and up to $10,000 for

each violation found. A.R.S. §§ 32-1401(27); 32-1403(A)(2), (A)(5); 32-

1403.01(A); 32-1451(A), (D)-(E), (I), and (K).

      The Scheme defines “genetic abnormality” as the “presence or presumed

presence of an abnormal gene expression in an unborn child, including a

chromosomal disorder or morphological malformation occurring as the result of

abnormal gene expression.” A.R.S. § 13-3603.02(G)(2)(a). It does not provide any

guidance about the level of certainty required for a fetal condition to be deemed

“presen[t] or presumed presen[t].” Id. Additionally, under the Scheme, “lethal fetal

conditions”—those “diagnosed before birth and that will result, with reasonable

certainty, in the death of the unborn child within three months after birth”—are

excluded. A.R.S. § 13-3603.02(G)(2)(b), incorporating A.R.S. § 36-2158(G)(1).

      Further, the Scheme broadly imposes liability on any “physician, physician’s

assistant, nurse, counselor or other medical or mental health professional who

knowingly does not report known violations [of the Scheme] to appropriate law

enforcement authorities.” A.R.S. § 13-3603.02(E) (the “Informer Requirement”).

And, after fetal testing or diagnosis, referring patients for or providing information

about abortion care could potentially give rise to liability for aiding or facilitating


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another person in obtaining a prohibited abortion. See A.R.S. §§ 13-301, 13-303. For

example, medical providers who provide prenatal genetic screening and testing

typically provide non-directive, full-spectrum pregnancy options counseling and

referrals. See 2-ER-148; 2-ER-245. Those services could put such providers at risk

of prosecution for aiding or facilitating a violation under the Scheme should they

refer for an abortion and the physician providing that care ultimately ends up being

arbitrarily prosecuted for doing so. See A.R.S. §§ 13-301, 13-303. Referring

physicians would similarly risk prosecution under the Informer Requirement, A.R.S.

§ 13-3603.02(E).

      Finally, the Reason Scheme imposes broad civil liability, allowing a pregnant

person’s spouse to bring a civil action “to obtain appropriate relief with respect to a

violation of” the Solicitation or Performance Provisions, including “monetary

damages for all injuries, whether psychological, physical or financial, including loss

of companionship and support,” and attorney’s fees and costs. A.R.S. § 13-

3603.02(D). If the pregnant person is under 18, one or both of their parents may

bring such action. Id.

          D. Impact of the Reason Scheme on Plaintiff-Physicians’ Practices
             1. The Scheme’s Incomprehensible Vagueness

      The Scheme’s operative language and interplay with existing Arizona law are

so confusing and inconsistent that Plaintiff-Physicians cannot decipher what care it



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prohibits and fear arbitrary prosecution under countless scenarios. 2-ER-144; 2-ER-

148; 2-ER-152; 2-ER-236; 2-ER-256–57; see also 2-ER-179 (citing 2-ER-236; 2-

ER-258, 260). The Scheme fails to make clear (1) what fetal conditions are included

within its definition of “genetic abnormality”; (2) what role a fetal condition must

play in a patient’s decision-making to implicate the Scheme; (3) how physicians are

to assess a patient’s subjective motivations for seeking abortion care; (4) what level

of knowledge a physician must possess about a patient’s prohibited motivation to

trigger the Scheme; and, (5) what circumstantial evidence could ultimately be used

to prove the physician possessed this unclear level of knowledge.

      First, due to inherent uncertainties in fetal condition screening and diagnosis,

Plaintiff-Physicians do not understand which fetal conditions constitute “genetic

abnormalities” under the Scheme. 2-ER-167 (citing 2-ER-225; 2-ER-257). Nor do

they understand when such conditions will be deemed “presen[t] or presumed

presen[t]” or what it means to “detect” them. 2-ER-257–58; 2-ER-225, 229, 236; 2-

ER-167. For example, the Scheme defines “genetic abnormality” to include

“morphological malformation[s]” resulting from “abnormal gene expression.”

A.R.S. § 13-3603.02(G)(2)(a). However, “morphological malformations” may

result from multiple genes, infectious diseases, environmental factors, or other

factors; the cause is not always clear, and reasonable physicians may disagree. 2-

ER-226, 237; 2-ER-257; see 2-ER-167.


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      The Scheme’s definition of “genetic abnormality” also excludes “lethal fetal

condition[s],” A.R.S. § 13-3603.02(G)(2)(b), that are “diagnosed before birth and

that will result, with reasonable certainty, in the death of the unborn child within

three months after birth,” A.R.S. § 36-2158(G)(1). But even when a diagnosis is

made in utero, a physician cannot determine with specificity how a condition will

manifest over a child’s lifetime or exactly how long a particular child might live. 2-

ER-167–68; 2-ER-225, 228, 236–37; 2-ER-258–60. Yet the Scheme provides no

further information or elaboration about which fetal conditions qualify as “lethal”;

how one would determine with “reasonable certainty” that a condition will result in

death within three months after birth; who must make this determination; nor

whether or how external factors, such as potential medical interventions, should be

considered.

      Second, Plaintiff-Physicians do not understand what role a “genetic

abnormality” must play in a patient’s decision-making to trigger the Scheme’s

prohibitions because, throughout the Reason Scheme, different standards are used.

2-ER-236; 2-ER-256–57, 260–61, 263. Must the patient seek abortion care “solely

because of” a “genetic abnormality,” as the Performance Provision suggests? A.R.S.

§ 13-3603.02(A)(2). Or does it suffice if it is merely “because of” a “genetic

abnormality,” as the Solicitation Provision and Notification Requirement suggest?

A.R.S. §§ 13-3603.02(B)(2); 36-2158(A)(2)(d). Or is it sufficient that there is


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merely the possibility that a “genetic abnormality” factored into the patient’s

decision, as the Affidavit Requirement suggests? A.R.S. § 36-2157(A)(1).

      Third, it is often difficult—if not impossible—for Plaintiff-Physicians to

delineate how any one reason contributed to a patient’s decision-making. 2-ER-169

(citing 2-ER-232–33; 2-ER-263); 2-ER-252–53. Ultimately, each patient’s decision

about whether to terminate a pregnancy is deeply personal, “complex,” and

“often . . . motivated by a variety of considerations, some of which are inextricably

intertwined with the detection of a fetal genetic abnormality.” Id.; see also 2-ER-

232–33. As the district court recognized, assessing how any one factor contributed

to another person’s complex decision-making is an inherently subjective

determination. 2-ER-168–69. Plaintiff-Physicians do not understand how they are

supposed to make this unbelievably challenging subjective assessment, and the

Reason Scheme provides no guidance. 2-ER-236; 2-ER-256–57; 2-ER-263.

      Fourth, Plaintiff-Physicians do not understand what level of knowledge they

must possess regarding their patients’ motivations to trigger the Scheme’s

prohibitions. 2-ER-237; 2-ER-245; 2-ER-265. Do they need actual knowledge that

the patient’s decision is motivated by a fetal condition, as the Solicitation and

Performance Provisions indicate? 2-ER-237; 2-ER-245; 2-ER-265; A.R.S. § 13-

3603.02(A)(2), (B)(2). Or is any suggestion that a fetal condition played a role in the




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patient’s decision-making sufficient, as the Affidavit Provision suggests? 2-ER-

260–63; A.R.S. § 36-2157.

      Fifth, Plaintiff-Physicians cannot predict when they could be deemed to have

this unknown level of knowledge that a covered fetal condition exists or that such a

condition played an impermissible role in the patient’s decision-making. This lack

of clarity puts Plaintiff-Physicians at risk of arbitrary prosecution because there are

“myriad ways in which [physicians] can and often do infer a patient’s motive for

terminating a pregnancy.” 2-ER-168 (citing 2-ER-231, 237; 2-ER-253, 261–62).

      While some patients disclose fetal test results and their motivations for

seeking care, others do not. But, as the district court previously concluded, there are

“many realistic scenarios in which surrounding circumstances could provide

evidence of a provider’s ‘knowledge’ that a patient sought an abortion because of a

fetal genetic abnormality—likely sufficient to establish a prima facie case for

criminal or civil liability—even though a patient did not explicitly state that was her

motive.” 2-ER-170. For example, before the Reason Scheme went into effect, many

of Dr. Isaacson’s patients were referred to his clinic by an MFM or other high-risk

pregnancy specialist or genetic counselor. 2-ER-251. Some patients who make an

appointment with Dr. Isaacson’s clinic for themselves may nevertheless check off

“fetal health considerations” on the state-mandated reporting form as one of the




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reasons for their abortion. 2-ER-260–61. They may also include their preliminary

fetal screening results in the medical history form. Id.

      Even if the patient’s medical records or forms do not indicate that a fetal

condition has factored into the patient’s decision-making, patients may discuss their

pregnancy in a way that indicates the patient may have continued the pregnancy had

they not received a fetal diagnosis. 2-ER-262, 267. For example, a patient may ask

how soon after an abortion they can become pregnant again, or how likely it is for

certain diagnoses to recur over multiple pregnancies. Id. Given the Scheme’s

multiple layers of vagueness, Plaintiff-Physicians are left guessing whether—in any

of these myriad scenarios—the Reason Scheme applies or could threaten their liberty

and livelihoods due to an arbitrary prosecution.

             2. Plaintiff-Physicians’ Practices Under the Reason Scheme

      Because Plaintiff-Physicians do not understand what care the Reason Scheme

currently prohibits, and they fear arbitrary prosecution in innumerable scenarios,

they have been forced to make changes to their medical practices ever since the

Reason Scheme went into effect. They have done so to ensure that they have the best

chance of avoiding prosecution under this unconstitutionally vague law.

      Plaintiff Dr. Reuss no longer provides full-spectrum, non-directive options

counseling to all his patients, as recommended by ACOG and SMFM, because he

“must now deprive some patients of a medical option [abortion] for their


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pregnancies.” 2-ER-144. And he no longer offers or provides abortion to patients

whenever a fetal condition “at a minimum . . . factors into their decision” to

terminate. Id. “[G]iven the confusing and inconsistent language in the law,” this is

the only way for Dr. Reuss to avoid “even a circumstantial indication that [he] may

be violating the Reason Scheme” and to “avoid criminal consequences.” Id.

      Similarly, Plaintiff Dr. Isaacson has ceased providing abortion care to patients

with likely or confirmed fetal conditions. 2-ER-152–53. Dr. Isaacson no longer takes

referrals from MFMs or genetic counselors because he fears that a referral could be

interpreted to mean that he had the requisite “knowledge” to trigger the Reason

Scheme’s prohibitions. Id. And, even if a patient is not directly referred by an MFM

or genetic counselor, Dr. Isaacson remains concerned that other circumstances

surrounding a patient’s care could be seen as evidence of his “knowledge” that a

patient sought an abortion with a prohibited motive. 2-ER-153. This forces him to

err on the side of caution and deny care to patients with suspected or known fetal

diagnoses—even if that care could arguably fall outside of the Reason Scheme’s

grasp—lest he risk severe criminal, civil, and professional penalties. 2-ER-152.

      Dr. Glaser also worries that she may get “caught up in a criminal prosecution”

for simply providing non-directive options counseling and referrals. 2-ER-148.

Other members of ArMA who do not provide abortion are similarly concerned about

how open and honest they can be with their patients when discussing pregnancy


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options, fearing that they may be risking arrest and prosecution for providing full-

spectrum options counseling and referrals to abortion providers. Id.

      Since the Reason Scheme has been in effect, Plaintiff-Physicians have

significantly curtailed their medical practices to avoid the grasp of the Reason

Scheme’s prohibitions. Doing so is the only way for Plaintiff-Physicians to continue

their medical practices and care for as many patients as possible without risking

criminal consequences, civil penalties, and loss of their medical licenses. 2-ER-144;

2-ER-148; 2-ER-152–53.

II.   PROCEEDINGS BELOW

      Nearly two years ago, Plaintiffs challenged the Reason Scheme and sought to

have it preliminarily enjoined. 2-ER-186–216. On September 28, 2021, before the

Scheme took effect, the district court granted Plaintiffs’ request for a preliminary

injunction, concluding that Plaintiffs satisfied each preliminary injunction factor,

including that Plaintiffs were likely to succeed on the merits of both their claim that

the Reason Scheme violates patients’ then-applicable substantive due process right

to abortion and their claim that the Reason Scheme is unconstitutionally vague. 2-

ER-171, 180, 183–84.

      As relevant here, the district court found the Reason Scheme likely violated

Plaintiff Physicians’ due process rights because the Scheme’s “squishy” terms and

reliance on physicians’ “knowledge” of “the subjective motivations of another


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individual” fail to adequately notify Plaintiff-Physicians of what activity is

proscribed and expose them to arbitrary criminal prosecutions. 2-ER-169–71. The

district court also found a likelihood that, given the risk of prosecution, Plaintiff-

Physicians and “many other providers in Arizona will be chilled from performing

abortions whenever they have information from which they might infer that a fetal

genetic abnormality is a reason why a patient is seeking to terminate a pregnancy.”

2-ER-179. Likewise, the district court determined that “these same uncertainties”

would “fall upon the host of Arizonans who, while not directly performing abortions,

nonetheless help patients access such care” through both the Reason Scheme’s

requirement to report “known violations” of the law and Arizona’s “accomplice and

facilitation” statutes. 2-ER-171.

      Defendants appealed the district court’s preliminary injunction order and

sought emergency stays from this Court, Emergency Mot. Under Circuit Rule 27-3

for a Partial Stay Pending Appeal, Isaacson et al. v. Brnovich et al., No. 21-16645

(9th Cir. Oct. 22, 2021), and the Supreme Court, Appl. for Partial Stay of Inj.

Pending Appeal, Brnovich v. Isaacson et al., No. 21A222 (U.S. Dec. 10, 2021).

However, the entire Scheme remained enjoined until June 30, 2022, when the

Supreme Court summarily disposed of all three cases pending before it that involved

reason-based abortion restrictions. See Brnovich v. Isaacson, 142 S. Ct. 2893 (2022);




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Box v. Planned Parenthood of Ind. & Ky., Inc., 142 S. Ct. 2893 (2022); Rutledge v.

Little Rock Fam. Plan. Servs., 142 S. Ct. 2894 (2022).

      Although Arizona had not petitioned for certiorari, the Supreme Court treated

Arizona’s limited stay application identically to the petitions for certiorari pending

before it in Box and Rutledge, converting it to a petition for certiorari before

judgment and granting the petition; vacating the entirety of the district court’s

September 28, 2021, Preliminary Injunction Order (even those portions pertaining

to Plaintiffs’ challenge to a different set of laws, which were not the subject of the

State’s application to the Supreme Court); and remanding the case to this Court with

instructions to remand the case to the district court for further consideration in light

of Dobbs. See Brnovich, 142 S. Ct. at 2893. Pursuant to that order, this case was

remanded to the district court on the same day. Order, Isaacson et al. v. Brnovich et

al., No. 21-16645 (9th Cir. June 30, 2022).

      In early September 2022, with the Reason Scheme in effect, Plaintiffs once

again moved to have the Reason Scheme preliminarily enjoined on vagueness

grounds since Dobbs did not undermine this claim in any way.3 2-ER-114–39. In

support of Plaintiffs’ Renewed Motion for Preliminary Injunction, Plaintiffs relied


3
  Although the Reason Scheme went into effect on June 30, 2022, Plaintiff-
Physicians were not providing abortion care at that time due to uncertainty regarding
the legality of abortion care in the state. Plaintiff-Physicians filed their Renewed
Motion for Preliminary Injunction shortly after the legality of abortion care was
clarified and they had resumed providing care. 2-ER-121–22.

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upon the six affidavits previously submitted in support of their initial request for a

preliminary injunction and an additional three supplemental affidavits, from Dr.

Reuss, Dr. Isaacson, and Dr. Glaser, attesting to how they and other members of

ArMA altered their medical practices once the Reason Scheme went into effect. 2-

ER-114–55; see also 2-ER-219–99. Arizona did not submit any additional evidence

and did not dispute any of Plaintiffs’ evidence.

      The district court held oral argument on Plaintiffs’ Renewed Motion for

Preliminary Injunction on October 25, 2022. 2-ER-28–113. On December 7, 2022,

the district court ordered the parties to file a round of supplemental briefing,

requesting that the parties address several questions, including how Plaintiffs satisfy

the following “three-part jurisdictional test” for ripeness: “(1) whether [Plaintiffs]

have articulated a concrete plan to violate the law in question, (2) whether the

prosecuting authorities have communicated a specific warning or threat to initiate

proceedings, and (3) the history of past prosecution or enforcement under the

challenged statute.” 2-ER-25. The district court did not ask the parties to address

injury-in-fact more broadly, nor did it indicate that any other aspect of Plaintiffs’

injury-in-fact was in dispute.

      On January 19, 2023, the district court denied Plaintiffs’ motion. According

to the district court, without a substantive due process right to abortion, Plaintiff-

Physicians could no longer demonstrate “a sufficiently concrete and imminent


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injury” to support federal jurisdiction under Article III. 1-ER-7. And, because the

Article III injury-in-fact inquiry “coincides squarely” with the constitutional

component of the ripeness inquiry, the district court concluded that Plaintiffs’ pre-

enforcement vagueness claim was no longer ripe. Id. (quoting Thomas v. Anchorage

Equal Rts. Comm’n, 220 F.3d 1134, 1138 (9th Cir. 2000)).

      In finding no Article III injury-in-fact, the district court did not consider the

costs and harms associated with Plaintiff-Physicians’ over-compliance with the

Scheme, and only assessed whether Plaintiff-Physicians demonstrated an

“imminent” future injury based on threat of prosecution under the Driehaus

standard. 1-ER-7–13. Relying on an isolated 2011 decision from the Eleventh

Circuit, Bankshot Billiards, Inc. v. City of Ocala, 634 F.3d 1340 (11th Cir. 2011),

the district court concluded that Plaintiff-Physicians failed the Driehaus standard

because their intended conduct was not “arguably affected with a constitutional

interest.” 1-ER-7–13. In the district court’s view, this element of the Driehaus test

is only met in the pre-enforcement vagueness context when the challenged law’s

unconstitutional vagueness chills the exercise of a separate constitutionally

protected right. See id. The district court then concluded that the Reason Scheme did

not chill any constitutionally protected conduct in the wake of Dobbs, 1-ER-12, and

refused to “render[]” any further “judgment on the Reason [Scheme’s] legality.” 1-

ER-13. Plaintiffs timely appealed. 3-ER-304.


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                        SUMMARY OF THE ARGUMENT

      The district court legally erred in concluding that—after the loss of the

substantive due process right to abortion—Plaintiffs can no longer demonstrate “a

sufficiently concrete and imminent injury” to support federal jurisdiction under

Article III.4 1-ER-7. Quite the contrary, now that the Reason Scheme is in effect and

enforceable, Plaintiff-Physicians’ injuries are even more plain.

      Now, due to the Scheme’s “uncertain meanings,” Plaintiff-Physicians have

been forced “to steer far wider of the unlawful zone than if the boundaries of the

forbidden areas were clearly marked,” Baggett, 377 U.S. at 372, and have severely

curtailed the care they previously offered to patients with suspected or known fetal

conditions (even care that may still be legal under the Scheme) to avoid as best they

can the threat of arbitrary enforcement and attendant loss of liberty and livelihood.

The burdens and costs associated with such coerced over-compliance constitute

“actual” ongoing injuries that satisfy Article III, MacMullan, 406 U.S. at 508, and




4
  Although the district court conducted its injury analysis within the framework of
the ripeness doctrine, the district court’s decision was confined to considering only
the constitutional component of the doctrine, which, as noted supra Statement of the
Case Section II, “coincides squarely with” the Article III “injury in fact prong.”
Accordingly, Plaintiffs focus this brief on the district court’s errors in failing to find
an Article III injury-in-fact, which resolves any dispute regarding the ripeness of
Plaintiffs’ claim.


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the district court’s refusal to credit them, seemingly because there is no longer a

substantive due process right to receive or provide abortion care, was legal error.

      Moreover, the threat of prosecution under the Scheme—if Plaintiff-Physicians

were to cease their over-compliance and attempt to decipher and offer as much care

as is legally permissible under the Scheme, which would be their preference—

constitutes an “imminent” future injury that satisfies Article III under Driehaus, 573

U.S. at 158–59. The Scheme’s vagueness raises due process concerns because the

law threatens Plaintiff-Physicians’ liberty and property interests; Plaintiff-

Physicians face far more than a “speculative” or “imaginary” chance of prosecution

should they provide care to patients with suspected or known fetal conditions, even

if Plaintiff-Physicians believe the care is legal under the Scheme; and, Plaintiff-

Physicians face more than a credible threat of prosecution, particularly since the

Scheme targets them for regulation and imposes numerous enforcement

mechanisms.

      The district court’s failure to find “imminent” future injuries from threat of

prosecution derives from a clear misunderstanding of what it means for conduct to

be “arguably affected with a constitutional interest” under the Driehaus “general

standard.” Tingley, 47 F.4th at 1067. From this confusion, the district court wrongly

concluded that Plaintiffs must show that the Scheme chills the exercise of a separate

constitutional right to make out an Article III injury in this context. 1-ER-7–13. But,


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such a rule has no grounding in Article III, which merely seeks “to ensure that the

plaintiff has a ‘personal stake in the outcome of the controversy.’” Driehaus, 573

U.S. at 158 (quoting Warth, 422 U.S. at 498). Furthermore, this rule disregards the

due process violations produced by vague laws that threaten life, liberty, or property

interests, even in the absence of an enforcement action and regardless of whether the

underlying conduct the law governs is constitutionally protected.

      Because Plaintiff-Physicians clearly establish an Article III injury-in-fact, the

district court improperly abdicated its “virtually unflagging” “obligation to hear and

decide cases within its jurisdiction.” Driehaus, 573 U.S. at 167. Accordingly,

Plaintiff-Physicians ask the Court to vacate the district court’s Order and remand

with instruction to consider the merits of Plaintiffs’ Renewed Motion for Preliminary

Injunction.

                            STANDARD OF REVIEW

      Where the district court is alleged to have relied on erroneous legal premises,

issues of law underlying the decision to grant or deny a preliminary injunction are

reviewed de novo. Does 1-5 v. Chandler, 83 F.3d 1150, 1152 (9th Cir. 1996). Article

III injury-in-fact is a “question[] of law” that the Court reviews de novo, while the

“factual determinations underlying the district court’s decision” on this issue are

reviewed “for clear error.” San Diego Cnty. Gun Rts. Comm. v. Reno, 98 F.3d 1121,

1124 (9th Cir. 1996).


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                                    ARGUMENT

 I.   THE DISTRICT COURT ERRED IN FINDING NO ARTICLE III
      INJURY-IN-FACT.

      Article III’s “injury-in-fact” requirement “helps to ensure that the plaintiff has

a ‘personal stake in the outcome of the controversy.’” Driehaus, 573 U.S. at 158

(quoting Warth, 422 U.S. at 498). Thus, Article III requires an injury that is “concrete

and particularized and actual or imminent, not conjectural or hypothetical.” Id.

(quoting Lujan, 504 U.S. at 560). Whether an injury satisfies Article III, however,

“in no way depends on the merits” of the plaintiff’s claim. Warth, 422 U.S. at 500;

see also Arizona v. Yellen, 34 F.4th 841, 849 (9th Cir. 2022). Further, adequately

stating a legal claim and demonstrating an Article III injury “are not one and the

same,” although “there can be overlap between the two.” Huff v. TeleCheck Servs.,

Inc., 923 F.3d 458, 462 (6th Cir. 2019).

      Plaintiff-Physicians demonstrate “actual” injuries (those associated with over-

compliance now that the vague Reason Scheme is in effect and enforceable) and

“imminent” future injuries (those associated with the threat of prosecution under the

Reason Scheme were they to attempt to decipher and offer as much care as is legally

permissible under the Scheme, which is their goal). Either Plaintiff-Physicians’

“actual” or “imminent” future injuries are sufficient to support federal jurisdiction.




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          A. Plaintiff-Physicians Are Experiencing “Actual,” Ongoing Injuries
             Under the Reason Scheme.
      Plaintiff-Physicians’ efforts to ensure compliance with the Reason Scheme

constitute an “actual,” ongoing injury that satisfies Article III because the resulting

over-compliance has been effectively coerced by the Reason Scheme’s vagueness

and accompanying threat of arbitrary prosecution. Costs resulting from compliance

coerced through “the threat of enforcement” constitute an “immediate and real,” i.e.,

actual present injury. MacMullan, 406 U.S. at 508 (holding that compliance that is

“coerced by threat of enforcement” creates a controversy that “is both immediate

and real”); see also Pierce v. Soc’y of Sisters, 268 U.S. 510, 536 (1925) (finding an

interest that is “clear and immediate” where the challengers sought “protection

against arbitrary, unreasonable, and unlawful interference with their patrons and the

consequent destruction of their business and property”).

      Indeed, as Circuit Courts around the country have regularly held, “[a]

regulated entity may plead an ‘injury in fact’ by plausibly alleging compliance costs

associated with an increased regulatory burden.”5 See Grand River Enters. Six


5
  Any compliance costs associated with an allegedly illegal law—coerced or
otherwise—satisfy the Article III injury-in-fact requirement. See, e.g., Lujan, 504
U.S. at 561–62; Am. Farm Bureau Fed’n v. EPA, 792 F.3d 281, 293 (3d Cir. 2015)
(“compliance costs” are “a classic injury-in-fact”). That said, without coercion, the
plaintiff may not be able to make out the other standing elements, which require the
injury to be “fairly traceable” to the challenged law and redressable by the court.
Lujan, 504 U.S. at 560–61. Given that Plaintiff-Physicians’ over-compliance with


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Nations, Ltd. v. Boughton, 988 F.3d 114, 121 (2d Cir. 2021) (collecting cases), cert.

denied, 142 S. Ct. 755 (2022); see also Lujan, 504 U.S. at 561–62 (holding that

“there is ordinarily little question that the [government’s] action or inaction has

caused [the challenger] injury” where the challenger is an “object of the action (or

foregone action) at issue”); Nat’l Audubon Soc’y v. Davis, 307 F.3d 835, 855–56

(9th Cir. 2002) (finding litigants satisfied Article III where they “suffered actual,

discrete, and direct injury in fact in the form of financial losses incurred from the

prohibition”); Ass’n of Am. Railroads v. Dep’t of Transp., 38 F.3d 582, 585–86 (D.C.

Cir. 1994) (holding that compliance burden stemming from allegedly unlawful rule

constitutes a “sufficient injury-in-fact”); Kentucky v. Yellen, 54 F.4th 325, 342 (6th

Cir. 2022) (“[C]ompliance costs are a recognized harm for purposes of Article III.”).

Moreover, compliance that results in “a loss of even a small amount of money is

ordinarily an ‘injury.’” Czyzewski v. Jevic Holding Corp., 580 U.S. 451, 464 (2017).

      Here, Plaintiff-Physicians’ uncontroverted evidence demonstrates tangible

and intangible costs associated with their coerced over-compliance with the Reason

Scheme that satisfy Article III. MacMullan, 406 U.S. at 508.

      As Plaintiff-Physicians’ uncontested declarations establish, before the Reason

Scheme went into effect, Plaintiff-Physicians regularly provided abortion care to



the Scheme has been coerced by the threat of prosecution, see infra Argument
Section I.A, they satisfy all standing elements.

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patients with diagnosed or suspected fetal conditions. 2-ER-251; 2-ER-233. Dr.

Isaacson’s clinic was the foremost medical practice in Arizona providing abortion

care to patients referred by MFMs and genetic counselors, including following fetal

screening that revealed the likelihood of or testing that led to a diagnosis of a fetal

condition. 2-ER-251. Plaintiffs Dr. Isaacson and Dr. Reuss regularly offered such

patients confidential, non-directive counseling and provided abortion care to those

who ultimately chose this option—regardless of their reason. 2-ER-231, 233; 2-ER-

252–55. And, indeed, like virtually all physicians in private practice, Drs. Reuss and

Isaacson accepted money for providing these services. 2-ER-251; 2-ER-223.

Likewise, members of Plaintiff ArMA, including Dr. Glaser, regularly provided

patients with confidential, non-directive counseling and referred those who chose to

terminate a pregnancy for abortion care—regardless of their reason. See 2-ER-243–

44.

      Plaintiff-Physicians would continue to offer as much of this care as is legally

permissible under the Scheme, but given the Reason Scheme’s vagueness, cannot

decipher what remains legal under the law and fear that providing any of this care

could expose them to a threat of arbitrary prosecution. See supra Statement of the

Case Section I.D. Plaintiff-Physicians have thus been forced to “steer far wider of

the unlawful zone,” Baggett, 377 U.S. at 372—severely curtailing the care they




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provide to patients with suspected or known fetal conditions—even though some of

this care may very well be legal under the Reason Scheme.

      Specifically, Dr. Isaacson no longer offers abortion care whenever there is

even the slightest indication of a fetal condition, even though this was a significant

part of his practice previously. 2-ER-152. As a result, Dr. Isaacson now denies

patients care in the “myriad,” “realistic” circumstances—previously credited by the

district court, 2-ER-168, 170—from which he could infer that a fetal condition may

have factored into a patient’s decision. See 2-ER-152–53. Likewise, Dr. Isaacson no

longer accepts referrals from MFMs and genetic counselors, as the referral alone

could be an indication that a fetal condition played an impermissible role in a

patient’s decision. 2-ER-152. Given that Dr. Isaacson does not provide his services

for free, turning these patients away generates tangible financial costs associated

with his over-compliance. Czyzewski, 580 U.S. at 464.

      And, as a corollary harm, Dr. Isaacson no longer collaborates with such

clinicians to provide his patients with the most compassionate care possible. 2-ER-

152–53. Similarly, some Plaintiff-Physicians, including members of ArMA, have

curtailed their confidential non-directive counseling, 2-ER-144, and fear prosecution

based on their communications with their patients, including patients with a

suspected or known fetal condition, 2-ER-148.




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       Such an ongoing over-compliance burden—coerced by the Reason Scheme

through its vagueness and severe penalties—presents a quintessential actual and

ongoing injury that satisfies Article III.6

       While focusing on Dobbs, the district court’s Order fails to appreciate what is

perhaps the biggest difference between Plaintiffs’ first and second request for a

preliminary injunction: the fact that the Reason Scheme is now in effect and

enforceable. Failing to fully reflect the significance of this development, the district

court’s analysis entirely overlooks Plaintiff-Physicians’ “actual” ongoing over-

compliance injuries and, instead, exclusively assesses whether the threat of

prosecution under the Reason Scheme is a sufficiently “imminent” future injury to

satisfy Article III.

       The district court ostensibly disregards these over-compliance costs because

(1) “Plaintiffs do not have a constitutional right to perform [] abortions and their

patients no longer have a constitutional right to receive them,” and (2) any chilled

patient-physician speech resulting from the Reason Scheme does not constitute the

independent Article III injury of “self-censorship.” 1-ER-12. In addition to

overlooking Plaintiff-Physicians’ “actual” over-compliance injuries, this reasoning



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  Although some of Plaintiff-Physicians’ coerced changed practices may not be
associated with economic loss, they are the type of “intangible harm” that can
“nevertheless be concrete.” Spokeo, Inc. v. Robins, 578 U.S. 330, 340 (2016).


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is misguided and erroneous because it suggests that the federal judiciary exists only

to adjudicate “cases or controversies” that implicate fundamental constitutional

rights. See U.S. Const. art. III, § 2 (judicial power extends not only to cases “arising

under this Constitution,” but myriad other categories).

      As noted supra, a court’s only task when considering the Article III injury-in-

fact requirement is to determine whether a plaintiff has “alleged such a personal

stake in the outcome of the controversy as to warrant his invocation of federal-court

jurisdiction.” Warth, 422 U.S. at 498 (quoting Baker v. Carr, 369 U.S. 186, 204

(1962)). While a “federal court’s jurisdiction . . . can be invoked only when the

plaintiff himself has suffered ‘some threatened or actual injury resulting from the

putatively illegal action [constitutional or otherwise],’” id. at 499 (quoting Linda

R.S. v. Richard D., 410 U.S. 614, 617 (1973)), any injury to a plaintiff that is

“concrete and particularized and actual or imminent, not conjectural or hypothetical”

satisfies Article III’s injury-in-fact requirement. Driehaus, 573 U.S. at 158 (quoting

Lujan, 504 U.S. at 560); see also Friends of the Earth, Inc. v. Laidlaw Env’t Servs.

(TOC), Inc., 528 U.S. 167, 180–81 (2000). Neither the injury nor the claim need be

constitutional—as is evident from the innumerable cases adjudicated by the federal

courts in which no one asserts the violation or chilling of a constitutional right.




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       Consistent with this jurisprudence, the district court erred in failing to

consider and credit Plaintiff-Physicians’ coerced over-compliance with the Reason

Scheme as an “actual” and ongoing Article III injury-in-fact.

          B. Plaintiff-Physicians Demonstrate an “Imminent” Future Injury.
       Having shown “actual” over-compliance costs now that the Reason Scheme

is in effect and enforceable, Plaintiff-Physicians need not establish that the threat of

prosecution under the Reason Scheme is a sufficiently “imminent” future injury to

satisfy Article III. Nevertheless, if Plaintiff-Physicians were to cease over-

complying with the Reason Scheme and attempt to decipher and offer as much care

as is legally permissible under the Reason Scheme—as they would like to do—the

threat of prosecution is a sufficiently “imminent” future injury that satisfies Article

III.

       Under longstanding Supreme Court precedent, “[a]n allegation of future

injury may suffice if the threatened injury is certainly impending or there is a

substantial risk that the harm will occur.” Driehaus, 573 U.S. at 158. At base, the

question is “whether the plaintiffs face ‘a realistic danger of sustaining a direct injury

as a result of the statute’s operation or enforcement,’ or whether the alleged injury

is too ‘imaginary’ or ‘speculative’ to support jurisdiction.” Thomas, 220 F.3d at 1139

(quoting Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289, 298 (1979)).

Accordingly, the “threatened enforcement of a law creates an Article III injury” if



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the “circumstances . . . render the threatened enforcement sufficiently imminent.”

Driehaus, 573 U.S. at 158–59.

      In setting the “general standard” for “pre-enforcement” challenges, Tingley,

47 F.4th at 1067, the Supreme Court has held that a threat of enforcement is

“sufficiently imminent” where a plaintiff alleges “an intention to engage in a course

of conduct arguably affected with a constitutional interest, but proscribed by a

statute, and there exists a credible threat of prosecution thereunder.” Driehaus, 573

U.S. at 159 (quoting Babbitt, 442 U.S. at 298). Plaintiff-Physicians’ uncontested

declarations satisfy this standard, and the district court’s conclusion to the contrary

rests on a misunderstanding of what it means for intended conduct to be “arguably

affected with a constitutional interest.” Id.

             1. Plaintiff-Physicians Demonstrate an “Intent[] to Engage in a
                Course of Conduct Arguably Affected with a Constitutional
                Interest.”
      Although this “factor to a degree resembles an invitation to reach the merits

of [the plaintiff’s] constitutional claims,” the Supreme Court has made clear that this

inquiry “in no way depends on the merits” of the plaintiff’s claim. Yellen, 34 F.4th

at 849; see also Parker v. District of Columbia, 478 F.3d 370, 377 (D.C. Cir. 2007).

Rather, at most, it requires a court to satisfy itself that the plaintiff has alleged the




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law violates its constitutional rights.7 See Green v. U.S. Dep’t of Just., 392 F. Supp.

3d 68, 84 (D.D.C. 2019) (“‘[A]rguably affected with a constitutional interest’ simply

means that a plaintiff has challenged a law on constitutional grounds.”).8

      This standard is satisfied whenever a plaintiff claims a law that threatens life,

liberty, or property interests is unconstitutionally vague. This is because the

vagueness doctrine stems from “[t]he Fifth and Fourteenth Amendments[’]

guarantee that ‘life, liberty, or property’ may not be taken ‘without due process of

law.’” Sessions v. Dimaya, 138 S. Ct. 1204, 1224 (2018) (Gorsuch, J., concurring).

Any law that threatens such interests, therefore, raises constitutional due process



7
  Indeed, given that the Supreme Court has not limited pre-enforcement review to
those asserting violations of constitutional rights, it is unclear if alleging a
constitutional violation is even necessary—or if this requirement merely obliges a
plaintiff to allege that the legal right it is asserting (constitutional or otherwise) is
being violated. Cf. MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 122–25, 128–
31 (2007) (recognizing standing to challenge patent validity based on clear threat of
action for breach of license or infringement); see also Knife Rts., Inc. v. Vance, 802
F.3d 377, 384 n.4 (2d Cir. 2015).
8
  For example, in the First Amendment context, courts typically dispense with this
requirement with simple reference to the fact that the intended conduct involves
speech that is potentially protected under the First Amendment. See, e.g., Driehaus,
573 U.S. at 162 (“Because petitioners’ intended future conduct concerns political
speech, it is certainly ‘affected with a constitutional interest.’”); Animal Legal Def.
Fund v. Vaught, 8 F.4th 714, 718 (8th Cir. 2021) (“This conduct is arguably affected
with a constitutional interest, because the creation and dissemination of information
are speech within the meaning of the First Amendment.”); Woodhull Freedom
Found. v. United States, 948 F.3d 363, 372 (D.C. Cir. 2020) (“Her alleged conduct
is ‘arguably affected with a constitutional interest,’ because Andrews’ intended
future conduct involves speech.”).

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concerns if it is vague. Criminal laws—through the threat of incarceration—

necessarily implicate liberty interests. See, e.g., Meachum v. Fano, 427 U.S. 215,

224 (1976). Laws that threaten professional licensure—and the pursuit of one’s

livelihood—necessarily implicate property interests. See Mishler v. Nev. State Bd.

of Med. Exam’rs, 896 F.2d 408, 409–10 (9th Cir. 1990) (citing Schware v. Bd. of

Bar Exam’rs, 353 U.S. 232, 238–39 (1957)). Thus, conduct governed by allegedly

vague laws that threaten such liberty and property interests are necessarily “affected

with a constitutional [due process] interest.” Driehaus, 573 U.S. at 159; see also

Knife Rts., 802 F.3d at 384 n.4 (noting that the “arguably affected with a

constitutional interest” requirement is satisfied based on “the due process interest in

avoiding vague criminal prohibitions”).9

      Plaintiff-Physicians’ allegations and the Reason Scheme’s statutory

punishments satisfy this standard. As noted supra Statement of the Case Section I.C,

the Scheme imposes felony penalties, punishable by up to 8.75 years’ imprisonment;

licensure penalties, up to and including revocation; and significant civil fines. Given

Plaintiff-Physicians’ claim that the Reason Scheme is vague on its face, along with



9
  Further, although “many pre-enforcement challenges have implicated the First
Amendment right of free expression, many of these same cases have also presented
the due process interest in avoiding vague criminal prohibitions.” Knife Rts., 802
F.3d at 384 n.4. And the Supreme Court “has drawn no distinction between these
constitutional interests in pronouncing a credible threat of prosecution sufficient to
establish standing.” Id.

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the law’s severe penalties to Plaintiff-Physicians’ liberty and property interests,

Plaintiff-Physicians’ conduct is “arguably affected with a constitutional [due

process] interest.” Driehaus, 573 U.S. at 159. Indeed, this Court previously satisfied

itself that this first Driehaus factor was met where a plaintiff “challenge[d]” a

criminal law threatening imprisonment and fines “on constitutional [vagueness]

grounds.” Valle del Sol Inc. v. Whiting, 732 F.3d 1006, 1015 (9th Cir. 2013)

(employing language from Babbitt adopted in Driehaus as the standard). This case

is no different.

              2. Plaintiff-Physicians Demonstrate an “Intent[] to Engage in a
                 Course of Conduct Arguably . . . Proscribed” By the Reason
                 Scheme.

       A plaintiff’s intended course of conduct is “arguably . . . proscribed by the

statute” where engaging in it exposes the plaintiff to a threat of prosecution that is

“not imaginary or wholly speculative.” Babbitt, 442 U.S. at 302. Allegations suffice

where they “demonstrate a reasonable likelihood that [the challenged law] could be

enforced against [the plaintiff]” for engaging in its intended activities. Valle del Sol,

732 F.3d at 1015; see also Yellen, 34 F.4th at 849 (“In evaluating the second

Driehaus factor, we must . . . evaluate whether [the] desired course of conduct falls

under the provision’s sweep.”).

       This element does not require a plaintiff to allege that they are currently

engaging in the conduct that would expose them to a “reasonable likelihood” of



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enforcement. Only a “plan or desire” to engage in this conduct is necessary, Tingley,

47 F.4th at 1067, particularly where a plaintiff has “curtail[ed],” Babbitt, 442 U.S.

at 301, or altered its prior activities due to the threat of prosecution under the

challenged law. See Driehaus, 573 U.S. at 166–67 (finding Article III injury based

on past activities despite refraining from those activities to avoid administrative

proceedings); Cal. Pro-Life Council, Inc. v. Getman, 328 F.3d 1088, 1094–95 (9th

Cir. 2003) (finding a cognizable injury-in-fact where plaintiff forwent intended

speech due to fear it would be penalized for failing to comply with regulatory

scheme).

      Similarly, this element does not “require[] a plaintiff who wishes to challenge

the constitutionality of a law to confess that he will in fact violate the law.” Driehaus,

573 U.S. at 163; see also Babbitt, 442 U.S. at 301–02. For example, in Babbitt, the

Supreme Court considered an Arizona statute that “on its face proscribe[d]

dishonest, untruthful, and deceptive publicity.” 442 U.S. at 302. The plaintiff alleged

that it had previously actively engaged in publicity campaigns and intended to

engage in these activities in the future. Although the plaintiff did not “plan to

propagate untruths,” the fact that “erroneous statement is inevitable in free debate”

was enough to render the threat of prosecution there “not imaginary or wholly

speculative.” Id. at 301–02 (quoting N.Y. Times Co. v. Sullivan, 376 U.S. 254, 271

(1964)).


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      Plaintiff-Physicians satisfy this standard because they demonstrate a desire to

continue to offer as much care to patients with suspected or known fetal conditions

as is legally permissible under the Reason Scheme, yet face a “not imaginary or

wholly speculative” fear that they will be prosecuted because the Scheme’s

confusing and inconsistent provisions fail to provide adequate notice about what is

proscribed and beget arbitrary enforcement. Babbitt, 442 U.S. at 302.

      Given the multiple layers of vagueness in the Reason Scheme, see supra

Statement of the Case Section I.D, Plaintiff-Physicians fear that providing care to

patients with suspected or known fetal conditions exposes them to a real, non-

hypothetical threat of prosecution—regardless of how hard they try to comply with

the Scheme. For instance, Drs. Isaacson and Reuss fear that any circumstantial

evidence surrounding a patient with a fetal diagnosis—including the mere existence

of the fetal diagnosis—could lead to prosecution under the Reason Scheme. 2-ER-

261, 263, 267; 2-ER-236. Similarly, genetic counselors and MFMs, including

members of ArMA, fear that providing full-spectrum options counseling to their

patients could violate the Reason Scheme through Arizona’s aiding and abetting

provisions, particularly should they refer to an abortion provider who could be

subject to an arbitrary prosecution, even due to the referral itself. 2-ER-245. Such

genetic counselors and MFMs likewise fear prosecution should a patient with a




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suspected or known fetal condition seek abortion care if they do not report a

violation. Id.

       Indeed, as the district court previously concluded, “[g]iven Arizona’s broad

definition of knowledge and the vagueness of the Reason [Scheme’s] criminal and

civil liability provisions,” many abortion providers will refuse care “whenever they

have information from which they might infer that a fetal genetic abnormality is a

reason why a patient is seeking to terminate a pregnancy.” 2-ER-179. Likewise, the

district court previously determined that “these same uncertainties” would “fall upon

the host of Arizonans who, while not directly performing abortions, nonetheless help

patients access such care” through both the Reason Scheme’s requirement to report

“known violations” of the law and Arizona’s “accomplice and facilitation” statutes.

2-ER-171. The district court credited the fears of abortion providers, like Drs.

Isaacson and Reuss, and of non-abortion providers, like ArMA’s members, as not

only reasonable, but dictated by “[t]he evidence, along with common sense.” 2-ER-

179.

       Moreover, even the district court’s recent order implicitly acknowledges that,

should physicians attempt to provide care to patients with suspected or known fetal

conditions consistent with the Reason Scheme, this would likely place them in

severe jeopardy. As the district court stated, “[d]octors likely will err on the side of

caution” and not provide care in circumstances Plaintiffs’ declarations show


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regularly occur, 2-ER-235–38; 2-ER-260–67—where “a patient’s motive might be

ambiguous or where circumstantial evidence might cause some outside observers to

believe the doctor knew the patient had a prohibited motive, even if not expressed.”

1-ER-10.10

      Accordingly, Plaintiff-Physicians’ uncontested declarations demonstrate an

“intent to engage in a course of conduct arguably . . . proscribed by the statute”

because they wish to offer as much care to patients with suspected or known fetal

conditions as is legally permissible under the Reason Scheme, but doing so would

expose them to a “reasonable” threat of prosecution, Valle del Sol, 732 F.3d at 1015,

that is “not imaginary or wholly speculative,” Babbitt, 442 U.S. at 302.

             3. Plaintiff-Physicians Demonstrate a “Credible Threat of
                Prosecution” Under the Reason Scheme.

      Applying the “general standard” articulated in Driehaus, the Ninth Circuit has

“developed a framework to evaluate whether a claimed threat of enforcement is

genuine enough to confer standing.” Yellen, 34 F.4th at 850. Under this framework,

courts in the Ninth Circuit consider: “(1) whether the plaintiffs have articulated a

‘concrete plan’ to violate the law in question, (2) whether the prosecuting authorities



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  Although the district court now suggests doctors will only be put in this position
in “edge cases,” 1-ER-10, whether the Scheme is vague in limited “edge cases” or
practically always is a question that goes to the merits of Plaintiffs’ facial vagueness
challenge and is not relevant to the injury analysis. Yellen, 34 F.4th at 849.


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have communicated a specific warning or threat to initiate proceedings, and (3) the

history of past prosecution or enforcement under the challenged statute.” Id.; see

also Tingley, 47 F.4th at 1067. Using this framework, Plaintiff-Physicians

demonstrate a “credible threat of prosecution” under the Reason Scheme.


      a. Plaintiff-Physicians Articulate A “Concrete Plan” to Violate the
         Reason Scheme.

      While a “general intent to violate a statute at some unknown date in the future

does not rise to the level of an articulated, concrete plan,” Thomas, 220 F.3d at 1139,

allegations of past activity that would violate the challenged law along with a “plan

or desire” to continue those same activities satisfy this prong. Tingley, 47 F.4th at

1067; see also Babbitt, 442 U.S. at 301, 303 (crediting relevant conduct before the

challenged enactment).

      As noted above, this is particularly true where the plaintiff has “curtail[ed],”

Babbitt, 442 U.S. at 301, or altered its prior activities due to the threat of prosecution

under the challenged law. See supra Argument Section I.B.2. Moreover, in such

cases, this Court “do[es] not require plaintiffs to specify ‘when, to whom, where, or

under what circumstances’ they plan to violate the law” because “they have already

violated the law in the past.” Tingley, 47 F.4th at 1068.




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      Here, Plaintiff-Physicians demonstrate a sufficiently “concrete plan” to

violate the law based on their prior acts that they have curtailed due to the Reason

Scheme.

      As articulated supra Statement of the Case Section I.B.2, Plaintiff-Physicians’

uncontested declarations demonstrate that, before the Reason Scheme went into

effect, they regularly treated patients with suspected or diagnosed fetal conditions—

regardless of their reason for seeking care. 2-ER-251; 2-ER-233; 2-ER-243. Again,

as the district court itself acknowledged, the care that Plaintiff-Physicians

“historically could [and did] perform” is “arguably unlawful” under the Reason

Scheme. 1-ER-12.

      Plaintiff-Physicians’ declarations further demonstrate a desire to continue to

offer as much of this care as is legally permissible under the Reason Scheme. See 2-

ER-144; 2-ER-152–54.11 Yet, Plaintiff-Physicians have severely curtailed the care

they provide to patients with suspected or known fetal conditions due to reasonable

fears that providing any of this care could subject them to prosecution, see supra

Statement of the Case Section I.D.2. See also 2-ER-144; 2-ER-152–53; 2-ER-245.




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  It is irrelevant that Plaintiff-Physicians have not identified specific patients with
suspected or diagnosed fetal conditions to whom they wish to provide care. Their
declarations demonstrate that they regularly provided care to these patients in the
past and they “cannot control when clients” with suspected or diagnosed fetal
conditions “will come” to them. Tingley, 47 F.4th at 1068; see 2-ER-153.

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         Because Plaintiff-Physicians’ past and intended acts fall within the ambit of

the Reason Scheme, and they have curtailed those activities to avoid—to the best of

their ability—threat of prosecution, they have articulated a sufficiently “concrete

plan.”


         b. The Reason Scheme Imposes a “Specific Threat of Enforcement” to
            Plaintiff-Physicians.

         “One does not have to await the consummation of threatened injury to obtain

preventive relief.” Ariz. Right to Life Pol. Action Comm. v. Bayless, 320 F.3d 1002,

1006 (9th Cir. 2003); see also Valle del Sol, 732 F.3d at 1015 n.5 (“[W]e have never

held that a specific threat is necessary to demonstrate standing”). That law

enforcement has not specifically threatened Plaintiffs yet is therefore irrelevant.

         The Reason Scheme only became enforceable on June 30, 2022, and since

then, Plaintiff-Physicians have “steer[ed] far wider of the unlawful zone,” Baggett,

377 U.S. at 372, due to the law’s vagueness, to try to avoid even the possibility of a

prosecution, civil penalty, or professional discipline. While Plaintiff-Physicians’

preventative actions may “eliminate[] the imminent threat of prosecution,” they

“nonetheless do[] not eliminate Article III jurisdiction.” MedImmune, 549 U.S. at

129.

         Moreover, were Plaintiff-Physicians to resume providing care to patients with

suspected or known fetal conditions, Plaintiffs would have “a plausible and



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reasonable fear of prosecution,” despite their best efforts to comply with the

Scheme. Wolfson v. Brammer, 616 F.3d 1045, 1062 (9th Cir. 2010) (emphases in

original); cf. Babbitt, 442 U.S. at 302 (threat of prosecution must be more than

“imaginary or wholly speculative” for pre-enforcement review); see supra

Argument Section I.B.2. Four key considerations substantiate Plaintiff-Physicians’

fear.

        First, Defendants have never disavowed enforcement. Courts have

“considered the Government’s failure to disavow application of the challenged

provision as a factor in favor of a finding of [injury].” LSO, Ltd. v. Stroh, 205 F.3d

1146, 1155 (9th Cir. 2000) (collecting cases). Throughout this litigation, Defendants

have vigorously defended the Reason Scheme and have repeatedly sought

emergency relief in order to enforce it, including from the U.S. Supreme Court. The

Arizona Department of Health Services and Arizona Medical Board have recently

and explicitly declined to disavow enforcement in their responses to a motion to

intervene, stating that they “comply with the laws that are in effect.” See 2-ER-18;

2-ER-22. The Ninth Circuit has recently reaffirmed that where the State has

“confirmed that it will enforce” a challenged law “as it enforces other restrictions,”

this refusal to disavow enforcement indicates a credible threat of enforcement.

Tingley, 47 F.4th at 1068; Yellen, 34 F.4th at 850 (that the “government has not




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disavowed enforcement of the [challenged law] is evidence of an intent to enforce

it”).

        Even if the current Arizona Attorney General has disavowed enforcement, see

2-ER-21, that does not undermine Plaintiff-Physicians’ reasonable fear. As noted,

that position does not necessarily reflect the views of the other Defendants charged

with enforcing the Scheme, including the Arizona Department of Health Services,

Arizona Medical Board, and County Attorneys. Indeed, that the Yavapai County

Attorney has recently sought to intervene in Planned Parenthood of Arizona, Inc. v.

Mayes, in favor of enforcing a near-total ban on abortion in the state, only

underscores the breadth and vigilance of enforcers of Arizona’s abortion laws. See

Mot. to Intervene and Join Pet. for Review of Intervenor/Appellee Dennis McGrane,

Yavapai     County    Att’y,   Planned     Parenthood     Ariz.,   Inc.   v.    Mayes,

No. CV-23-005-PR (Ariz. Mar. 2, 2023). Here, too, any of the County Attorneys

could seek to enforce the Reason Scheme. A.R.S. § 11-532. Further, while the

Attorney General serves a four-year term, see Ariz. Const. art. V, § 1(A), the statute

of limitations for felony penalties under the Reason Scheme is seven years, A.R.S.

§ 13-107(B)(1). Accordingly, even disavowal by one Attorney General does not

eliminate the threat of prosecution by that office. Finally, any change in the Attorney

General’s position would be relevant only to a mootness inquiry, as injury for

purposes of standing and ripeness is assessed at the time of filing. See Lujan, 504


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U.S. at 569 n.4. As such, the current Attorney General’s position alone is not

dispositive.

      Second, the Reason Scheme specifically targets Plaintiff-Physicians and other

healthcare providers who offer abortion and abortion-related care. The Supreme

Court held in Virginia v. American Booksellers Association that plaintiffs

demonstrate an injury-in-fact where “the law is aimed directly at plaintiffs who, if

their interpretation of the statute is correct, will have to take significant and costly

compliance measures or risk criminal prosecution.” 484 U.S. 383, 392 (1988).

Plaintiff-Physicians’ situation is arguably more severe because they are unable to

discern whether their interpretation of the statute is indeed correct, given the law’s

vagueness, and so have over-complied to reduce their risk.

      Nevertheless, the Reason Scheme directly targets Plaintiff-Physicians: it is

providers who are threatened with felony penalties under the Performance and

Solicitation Provisions, and who are required to swear “no knowledge” that a

pregnancy is being terminated “because of a genetic abnormality” under the

Affidavit Requirement. In passing the Reason Scheme, the Legislature stated its

interest in “protect[ing] the integrity and ethics of the medical profession by

preventing doctors” from providing abortion care under the prohibited

circumstances. S.B. 1457 § 15. And the imposition of aiding and abetting liability

implicates MFMs, genetic counselors, and other healthcare providers whose


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communications might give rise to an indication of a fetal condition that could

trigger the Reason Scheme’s prohibitions. Unlike cases in which plaintiffs’

“allegations of threatened prosecution and increased prices” were “no more than a

‘generalized grievance’ shared in substantially equal measure by . . . a large class of

citizens,” Reno, 98 F.3d at 1131, here, it is a narrow, defined universe of physicians

and other healthcare providers who offer abortion-related care in Arizona who are

directly regulated and targeted by the statute.

      Third, the Reason Scheme itself, along with other abortion laws, subjects

providers like Plaintiff-Physicians to significant oversight in the interest of

enforcement. See, e.g., McKay v. Federspiel, 823 F.3d 862, 869 (6th Cir. 2016)

(finding “an attribute of the challenged statute that makes enforcement easier or

more likely” weighs in favor of injury-in-fact); cf. Driehaus, 573 U.S. at 164. These

requirements create a web of burdensome and, at times, conflicting obligations that

allow for a great deal of State intrusion into the operation of Plaintiff-Physicians’

medical practices. These obligations include the Affidavit, Reporting, and Informer

Requirements along with regular state inspections as a condition of licensure. A.R.S.

§§ 36-2157; 36-2161; 13-3603.02(E); 36-449.02(E).

      The State utilizes these multiple overlapping mechanisms to ensure that any

potential violation of the Reason Scheme is detected and prosecuted. Accordingly,

healthcare providers engaging in abortion-related care have more than a reasonable


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fear of prosecution under the law, even as they remain unclear about what activity,

precisely, the law prohibits.

      Fourth, even apart from State enforcement, the Reason Scheme confers a

private right of action on certain individuals. See A.R.S. § 13-3603.02(D); see also

A.R.S. § 36-2158. “Because the universe of potential complainants is not restricted

to state officials who are constrained by explicit guidelines or ethical obligations,

there is a real risk of [frivolous] complaints,” Driehaus, 573 U.S. at 164, which, in

turn, could lead to civil penalty or professional discipline, including loss of license.

      For each of these reasons, Plaintiff-Physicians have asserted far more than a

reasonable fear of enforcement under the Reason Scheme.


      c. History of Enforcement Carries Little Weight Here.

      History of enforcement carries little weight in the context of new laws.

Wolfson, 616 F.3d at 1060; see also LSO, Ltd., 205 F.3d at 1155 (“[E]nforcement

history alone is not dispositive. Courts have found standing where no one had ever

been prosecuted under the challenged provision.”); cf. Poe v. Ullman, 367 U.S. 497,

502–08 (1961) (finding lack of enforcement history relevant where there were

“common[] and notorious[]” violations of the law and the statute had “gone

uniformly and without exception unenforced” for nearly a century). Plaintiffs filed

this pre-enforcement challenge prior to the Reason Scheme going into effect, and

the Scheme was enjoined from September 28, 2021, to June 30, 2022. Thus,

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litigation has remained active for the less than one year that the Scheme has been in

effect. The lack of enforcement during this limited period does not undermine the

justiciability of Plaintiffs’ claims.

       Moreover, as discussed above, Plaintiff-Physicians have severely curtailed

their activities in an attempt to avoid prosecution or penalty since the Reason Scheme

took effect. See supra Statement of the Case Section I.D.2. Plaintiff-Physicians’

decision to “eliminate[] the imminent threat of harm by simply not doing what

[Plaintiff-Physicians] claim[] the right to do” does not “preclude subject-matter

jurisdiction because the threat-eliminating behavior [is] effectively coerced.”

MedImmune, 549 U.S. at 129; see also Wolfson, 616 F.3d at 1060–61; Santa Monica

Food Not Bombs v. City of Santa Monica, 450 F.3d 1022, 1034 (9th Cir. 2006);

Bayless, 320 F.3d at 1006.

       Accordingly, Plaintiff-Physicians suffer a “genuine threat of imminent

enforcement” under the Reason Scheme: Plaintiff-Physicians have demonstrated “an

intention to engage in a course of conduct arguably affected with a constitutional

interest, but proscribed by a statute, and there exists a credible threat of prosecution

thereunder.” Driehaus, 573 U.S. at 159 (quoting Babbitt, 442 U.S. at 298). Plaintiff-

Physicians have, therefore, asserted an “imminent” future injury that satisfies Article

III.




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              4. The District Court’s Failure to Find an “Imminent” Future
                 Injury Rests on Its Misinterpretation of “Arguably Affected
                 with a Constitutional Interest.”

       Although Plaintiff-Physicians clearly establish all that is required under the

Driehaus “general standard,” the district court concluded otherwise due to its

misinterpretation of what it means for a plaintiff’s intended conduct to be “arguably

affected with a constitutional interest.” Tingley, 47 F.4th at 1067; see also 1-ER-13.

As explained supra Argument Section I.B.1, this at most requires a court to assure

itself that the litigant claims the law violates its constitutional rights. Or, specifically

in the vagueness context, that the law challenged as unconstitutionally vague

threatens a life, liberty, or property interest. It does not, as the district court

concluded, require a plaintiff to allege that the vagueness in the challenged law

causes a “separate injury” where “the litigant is chilled from engaging in

constitutionally protected activity.” See 1-ER-8 (quoting Bankshot, 634 F.3d at

1350).

       The district court’s erroneous “separate injury” requirement originates from

an isolated Eleventh Circuit case—Bankshot Billiards, Inc. v. City of Ocala, 634

F.3d 1340 (11th Cir. 2011). In Bankshot, the Eleventh Circuit panel indicated that a

“separate injury” is necessary in the pre-enforcement context because courts “review

statutes for vagueness concerns only when a litigant alleges a constitutional harm.”

634 F.3d at 1349–50. The panel noted that, in the post-enforcement context, the



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relevant “constitutional harm” is the “deprivation of liberty—incarceration—

without due process because the criminal defendant was not on notice that his

conduct was criminal.” Id. In the pre-enforcement context, however, the panel

reasoned that, “because the State has not yet enforced the vague law; we do not know

if the litigant will ever be deprived of his liberty without due process of law.” Id. at

1350. Thus, according to the panel, pre-enforcement vagueness claims are only

heard where the allegedly vague “law causes a separate injury: the litigant is chilled

from engaging in constitutionally protected activity.” Id.

      As a preliminary matter, no other Circuit, including this Court, has ever cited

Bankshot, let alone applied it. Perhaps more significantly, Bankshot was decided

before Driehaus, which set forth the test—first articulated in Babbitt—that is the

“general standard,” Tingley, 47 F.4th at 1067, and that courts use to assess whether

a threat of prosecution is sufficiently “imminent” to satisfy Article III. Driehaus,

573 U.S. at 159 (quoting Babbitt, 442 U.S. at 298). Bankshot makes no reference to

this key language from Babbitt, calling into question whether Bankshot captured the

law as it existed then, much less its continued vitality—even in the Eleventh

Circuit—since Driehaus was decided in 2014.

      By applying the Bankshot “separate injury” requirement here, the district

court committed clear legal error given its several fatal flaws. First, as explained

supra, the Supreme Court has made clear that the purpose of the injury-in-fact


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requirement under Article III is to ensure that a litigant bringing a claim has an

adequate personal stake in the outcome of the case. See Warth, 422 U.S. at 498. The

Supreme Court’s jurisprudence has never required the allegation of a “constitutional

harm,” contra Bankshot, 634 F.3d at 1349, to satisfy Article III’s injury-in-fact

requirement. Moreover, consistent with this jurisprudence, other Circuits

considering pre-enforcement vagueness challenges—including this one—have not

required such a “separate injury” to satisfy Article III. See, e.g., Valle del Sol, 732

F.3d at 1015; Knife Rts., 802 F.3d at 384 n.4.

      Second, the district court’s “separate injury” requirement fails to account for

the constitutional due process violations that vague laws inflict, even in the absence

of an enforcement action, and regardless of whether they govern constitutionally

protected conduct. As the Supreme Court has held, the vagueness doctrine is not

only concerned with fair notice, but also with—arguably its “more important

aspect”—“the requirement that a legislature establish minimal guidelines to govern

law enforcement and keep the separate branches within their proper spheres.”

Dimaya, 138 S. Ct. at 1228 (Gorsuch, J., concurring). Where laws are so standardless

that they fail to provide adequate notice and beget arbitrary enforcement, those they

govern are forced to either “forswear doing all that is literally or arguably within the

purview of the vague terms,” Baggett, 377 U.S. at 378, or engage in conduct with




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the constant threat of arbitrary prosecution and potentially severe penalty looming

over them. See also id. at 372.

      Coercing individuals into this choice—through threat to any life, liberty, or

property interest—is a constitutional due process violation in and of itself. See id. at

374. While criminal defendants charged under vague statutes may be able to prevent

incarceration, that does not remedy the very real due process harm of being hauled

into court, threatened with severe penalty, and forced to undergo the expense and

uncertainty of defending against an arbitrary prosecution. See id. at 373 (holding

that, while “a prosecutor’s sense of fairness and the Constitution” may “prevent a

successful . . . prosecution for some of the activities seemingly embraced within” the

statute, “[t]he hazard of being prosecuted for knowing but guiltless behavior

nevertheless remains”).12

      Furthermore, due process violations accrue from vague laws, even if the

underlying conduct they govern is not constitutionally protected. See Village of

Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S. 489, 497 (1982) (“A law



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   Moreover, even if it were correct that vague laws only implicated due process
concerns in the context of an enforcement action, Bankshot, 634 F.3d at 1349–50,
the purpose of the Driehaus test is to determine whether a future harm—here a
prosecution—is sufficiently “imminent” such that it amounts to an Article III injury.
Therefore, to preclude federal court review simply because the constitutional due
process violation that would result from such a prosecution has yet to occur defies
the purpose of the test.


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that does not reach constitutionally protected conduct . . . may nevertheless be

challenged on its face as unduly vague, in violation of due process.”). While the

vagueness doctrine demands more clarity of laws that implicate the exercise of

constitutional rights, the doctrine still applies to laws that have no effect on the

exercise of other constitutional rights—including those that regulate “normal

business activity,” such as medical care. See id. at 498 (“The degree of vagueness

that the Constitution tolerates—as well as the relative importance of fair notice and

fair enforcement—depends in part on the nature of the enactment.”); see also

Baggett, 377 U.S. at 379–80. That is, even if the vagueness standard is less stringent,

such a law must nevertheless be scrutinized under the vagueness doctrine. Vague

laws “cannot possibly be . . . excuse[d]” simply because it is within “the power of a

State” to regulate the conduct. Baggett, 377 U.S. at 379–80. Such laws are

“forbidden by the Constitution” just the same. Id. at 380.

      The Eleventh Circuit in Bankshot (as well as the district court) appears to have

conflated the stringency of review applied to allegedly vague laws (a merits

question) with the inquiry of whether a cognizable injury-in-fact has been alleged (a

justiciability question). See Bankshot, 634 F.3d at 1350 (citing Kolender v. Lawson,

461 U.S. 352 (1983), for the proposition that “courts are more tolerant of a vague

statute that simply regulates business behavior” to support the conclusion that chilled

business activity is insufficient to establish an Article III injury-in-fact); see also 1-


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ER-7–13.13 But, in short, while relevant to the merits question whether a vague law

implicates the exercise of constitutional rights, it is not dispositive of whether there

is an Article III injury.

       Third, any concern that—without the “separate injury” requirement—

potential litigants could “comb the statute books for poorly drafted laws” and

challenge them on vagueness grounds is unfounded. See Bankshot, 634 F.3d at 1349.

Unlike in the First Amendment overbreadth context, to state a claim for vagueness

a plaintiff must allege that it does not understand how the vague law applies to its

own activities. See, e.g., Kashem v. Barr, 941 F.3d 358, 375 n.9 (9th Cir. 2019)

(articulating this requirement for vagueness challenges in comparison to those

brought under First Amendment overbreadth doctrine where “litigants . . . are

permitted to challenge a statute not because their own rights of free expression are

violated, but because of a judicial prediction or assumption that the statute’s very

existence may cause others not before the court to refrain from constitutionally

protected speech or expression” (quoting Broadrick v. Oklahoma, 413 U.S. 601, 612

(1973))). A plaintiff must also allege that the challenged law threatens a life, liberty,



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  To elaborate, Kolender is not a case about Article III injury; rather, the Court was
engaged in analyzing the merits of the claim, i.e., whether the statute in question was
unconstitutionally vague. 461 U.S. at 357–61. In so doing, the Court considered the
constitutional interests impacted by the vague law—Lawson’s constitutional right to
freedom of movement as well as the “potential for arbitrarily suppressing First
Amendment liberties.” See id. at 358, 361.

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or property interest. See supra Argument Section I.B.4. Accordingly, any plaintiff

who fails to allege that it does not understand how the purportedly vague law governs

its activities, or how the law threatens a life, liberty, or property interest, cannot

proceed. Not because they lack an Article III injury necessarily, but because they

will be unable to state a claim for relief under Federal Rule of Civil Procedure

12(b)(6).

      Furthermore, the other Driehaus factors, which require the plaintiff’s intended

conduct to be “proscribed by [the] statute,” and for there to be a “credible threat of

prosecution thereunder” likewise create a sufficient safeguard against the specter of

unwarranted and unlimited litigation. Tingley, 47 F.4th at 1067; see also supra

Argument Section I.B. As this Court has made clear, “[n]either the mere existence

of a proscriptive statute nor a generalized threat of prosecution” is sufficient to

articulate an Article III injury. Tingley, 47 F.4th at 1067 (quoting Thomas, 220 F.3d

at 1139). Rejecting the district court’s “separate injury” requirement does nothing to

undermine these guardrails.

            *                            *                                   *

      Given that Plaintiff-Physicians demonstrate both “actual” and “imminent”

Article III injuries, the district court’s conclusion that Plaintiffs should be forced

either to refrain from providing care that is arguably not covered by the Reason

Scheme, or to provide care at the risk of prosecution with severe criminal, civil, and


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licensure penalties in order to raise their vagueness claim, see 1-ER-11–12, is

untenable. As the Supreme Court has clearly held, plaintiffs are “not require[d], as a

prerequisite to testing [a law’s] validity . . . [to] bet the farm, so to speak, by taking

the violative action.” MedImmune, Inc., 549 U.S. at 129; see also Babbitt, 442 U.S.

at 302 (holding that Plaintiffs “need not first expose [themselves] to actual arrest or

prosecution to be entitled to challenge the statute”). If the Reason Scheme is “truly

vague, [Plaintiffs] should not be expected to pursue their collective activities at their

peril.” Babbitt, 442 U.S. at 303.

                                    CONCLUSION

      For the reasons set forth above, this Court should vacate the district court’s

order finding no Article III injury and denying Plaintiffs preliminary injunctive relief

against the Reason Scheme, and remand for further consideration on the merits of

Plaintiffs’ Renewed Motion for Preliminary Injunction.




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Date: April 20, 2023                        Respectfully submitted,

                                            /s/ Jessica Sklarsky


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                      STATEMENT OF RELATED CASES

      Pursuant to Ninth Circuit Rule 28-2.6, Plaintiffs-Appellants state that they

know of no related case pending in this Court beyond the cross-appeal stemming

from the district court’s first preliminary injunction order, Nos. 21-16645 and 21-

16711.



                                               /s/ Jessica Sklarsky
                                               Jessica Sklarsky




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                    UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT

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Signature _/s/ Jessica Sklarsky_______________ Date __April 20, 2023___




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                         CERTIFICATE OF SERVICE

      I hereby certify that on April 20, 2023, I electronically filed the foregoing

brief with the Clerk of the Court for the United States Court of Appeals for the Ninth

Circuit through the appellate CM/ECF system. I further certify that counsel for all

parties are registered CM/ECF users and that service will be accomplished by the

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                                              /s/ Jessica Sklarsky
                                              Jessica Sklarsky




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